    Fill in this information to identity the case:

 Debtor 1        Kirk Morrison

 Debtor 2

 United States Bankruptcy Court for the:        Eastern District of Michigan, Flint Division               District of

                                                                                                                            (State)
 Case number         1631291



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges 12/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.
Name of creditor: MTGLQ Investors, L.P.                                                                            Court claim no. (if known)     1



Last four digits of any number you use to
identify the debtor's account:                                   1270
Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?

       No
       Yes. Date of the last notice:            05/21/2016



Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

 Description                                            Dates incurred                                                                                Amount

    1 Late Charges

    2 NSF Fees

    3 Attorneys Fees

    4 Filing Fees and Court Costs                      06/15/2016                                                                                     $427.50

    5 Bankruptcy/Proof Of Claim Fees

    6 Appraisal / BPO Fees

    7 Property Inspection Fees                          06/27/2016                                                                                    $13.00

    8 Tax Advances (Non-Escrow)

    9 Insurance Advances (Non-Escrow)10 Property Preservation Expenses

   11 Other Fee 1            Title fee                    06/22/2016                                                                                  $250.00

  12 Other Fee 2

   13 Other Fee 3

  14 Other Fee 4



                   16-31291-dof               Doc 54           Filed 08/10/16              Entered 08/10/16 09:27:52                        Page 1 of 4
The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11 U.S.C. §
1322(b)(5) and Bankruptcy Rule 3002.1.




                   16-31291-dof              Doc 54          Filed 08/10/16              Entered 08/10/16 09:27:52                Page 2 of 4
The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.

    I am the creditor.

    I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.

 /s/ Stephanie St. Martin-Ancik                                                         Date       08/10/2016
       Signature

 Print:              Stephanie St. Martin-Ancik                                         Title      Bankruptcy Case Manager

 Company             Shellpoint Mortgage Servicing

 Address             PO BOX 10826

                     Greenville                           SC             29603-0826

 Contact phone       (800) 365-7107                              Email        mtgbk@shellpointmtg.com




                   16-31291-dof       Doc 54      Filed 08/10/16         Entered 08/10/16 09:27:52              Page 3 of 4
Shellpoint Mortgage Servicing                              Phone Number:            (800) 365-7107
PO BOX 10826                                               Fax:                     (866) 467-1137
Greenville, SC 29603-0826
                                                           Email: mtgbk@shellpointmtg.com



RE: Debtor 1 Kirk Morrison
    Debtor 2
Case No:    1631291
PROOF OF SERVICE
I certify that a copy of the foregoing documents were served upon the following persons electronically or by mail via the U.S. Postal
Service, postage prepaid or by personal delivery, at their scheduled addresses on this day, 8/10/2016.

Eastern District of Michigan, Flint Division
600 Church Street
Federal Bldg.
Flint, MI 48502


Carl Bekofske
400 N Saginaw Street
Suite 331
Flint, MI 48503


James P. Frego, II
23843 Joy Road
Dearborn Heights, MI 48127



Kirk Morrison
551 S Kellogg Rd
Howell MI 48843



/s/ Stephanie St. Martin-Ancik




           16-31291-dof          Doc 54    Filed 08/10/16         Entered 08/10/16 09:27:52              Page 4 of 4
